 $2 5HY 6XPPRQVLQD&LYLO$FWLRQ0,:' 5HY
                 Case 1:19-cv-00614-JTN-ESC ECF No. 10 filed 07/30/19 PageID.166 Page 1 of 1

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
$QWKRQ\'DXQW7RP%DUUHWW$DURQ%HDXFKLQH.DWK\
%HUGHQ6WHSKHQ'DXQW*HUU\+LOGHEUDQG*DU\                                                                  &DVH1R 1:19-cv-614
.RXWVRXERV/LQGD/HH7DUYHU3DWULFN0H\HUV0DULDQ                                                           +RQ Janet T. Neff
6KHULGDQ1RUP6KLQNOH0DU\6KLQNOH3DXO6KHULGDQ
%ULGJHW%HDUG&OLQW7DUYHU                                                                    72 Jocelyn Benson, Michigan Secretary of State
                                                                                          $''5(66 Michigan Department of State
                                   V.                                                                     Legal Services Administration
                                                                                                          P.O. Box 30204
 Jocelyn Benson, in her official Capacity as Michigan                                                     Lansing, MI 48909
                 Secretary of State

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                                                                                                      John J. Bursch
                                                                                                      Bursch Law PLLC
 <28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH
                                                                                                      9339 Cherry Valley SE, #78
 XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Caledonia, MI 49316
 XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ                                         616-450-4235
   21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
 FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
 MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
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                                                                                     PROOF OF SERVICE
 7KLVVXPPRQVIRU               Jocelyn Benson, Michigan Secretary of State                                       ZDVUHFHLYHGE\PHRQ                                              
                                              QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


  ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                           SODFHZKHUHVHUYHG
 RQ
                        GDWH


   ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                             DSHUVRQ
                                                                                                                           QDPH

 RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                           GDWH


   ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                             QDPHRILQGLYLGXDO

 RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                            
                                                                             QDPHRIRUJDQL]DWLRQ                                                               GDWH


   ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                           
   2WKHU (specify)                                                                                                                                                                     

       0\IHHVDUHIRUWUDYHODQG                                        IRUVHUYLFHVIRUDWRWDORI                                     
 ,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
 'DWH
                                                                                                                                     Server’s signature

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                              Server’s printed name and title



                                                                                                                                   Server’s address
